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MMS:JMH
F. #2015R2053

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                 -x              16-98M

I.INITED STATES OF AMERICA                                      TO BE FILED
                                                                UNDER SEAL
       - against -
                                                                C   OMPLAINT AND
SASHA HONORE,                                                   AFFIDAVIT IN
MARDOCHE PETITPHARE               ANd
                                                                SUPPORT OF AN
RAYVAUGHN WILLIAMS,                                             ARREST WARRANT
                         Defendants.                            (18 u.S.C. $$ 2, 924(cX1)(AXii),
                                                                 1951,2t19)
                                                 -x
EASTERN DISTRICT OF NEW YORK, SS:

                AYESHA R. WINSTON, being duly sworn, deposes and states that she is a

Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives ("the ATF"),

duly appointed according to law and acting as such.

                On or about October 16,2015, within the Eastern District of New York, the

defendants SASHA HONORE and MARDOCHE PETITPHARE, together with others, did,

with intent to cause death or serious bodily harm, take a motor vehicle that had been

transported, shipped, or received in interstate or foreign commerce from the person or presence

of another, to wit: Victim-   I , whose   identity is known to the Affiant, by force and violence or by

intimidation.

                (Title   18, United States Code, Sections    2ll9   and2).

                On or about October 16,2015, within the Eastern District of New York, the

defendants SASHA HONORE and MARDOCHE PETIPHARE, together with others, did
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knowingly and intentionally use and carry   a   firearm during and in relation to crimes of violence,

to wit: the carjacking on October 16,2015, referenced above.

              (Title   18, United States Code, Sections   92a@)Q)(AXii) and2).

              On or about November 16,2015, within the Eastern District of New York, the

defendants MARDOCHE PETITPHARE and RAYVAUGHN WILLIAMS did knowingly and

intentionally attempt to obstruct, delay and affect commerce, and the movement of articles and

commodities in commerce, to wit: currency, by robbery, while brandishing a firearm.

              (Title   18, United States Code, Sections    l95l   and2).

              On or about November 16,2015, within the Eastern District of New York, the

defendants MARDOCHE PETIPHARE and RAYVAUGHN WILLIAMS did knowingly and

intentionally use and carry a firearm during and in relation to crimes of violence, to wit: the

attempted robbery on November 16, 2015, referenced above.

              (Title   18, United States Code, Sections   92a@)Q)(AXii) arrd2).

              On or about November 17,2015, within the Eastem District of New York, the

defendant MARDOCHE PETITPHARE, together with others, did, with intent to cause death or

serious bodily harm, take a motor vehicle that had been transported, shipped, or received in

interstate or foreign commerce from the person or presence of another, to wit: Victim-4, whose

identity is known to the Affiant, by force and violence or by intimidation.

              (Title   18, United States Code, Sections   2ll9    and2).

              On or about November 17,2015, within the Eastern District of New York, the

defendant MARDOCHE PETIPHARE, together with others, did knowingly and intentionally
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use and carry a firearm during and in relation to crimes of violence, to   wit: the carjacking of

Victim-4 on November 17, 20 | 5, referenced above.

               (Title   18, United States Code, Sections 92a@)Q)(A)(iD and2).

               The source of your deponent's information and the grounds for her belief are as

follows:1

               1.       I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives ("the   ATF"). I have been an ATF Special      Agent for approximately 11 years. I

have been involved in the investigation of numerous cases involving the illegal use of firearms,

robbery, and carjackings. I have participated in investigations involving search warrants and

arrest warrants. As a result of my training and experience,     I am familiar with the techniques

and methods of operation used by individuals involved in criminal activity to conceal their

activities from detection by law enforcement authorities.

               2.       I have personally participated in the investigation set forth below. I am

familiar with the facts and circumstances set forth below from my participation in the

investigation; my review of the investigative file, including the defendants' criminal history

records; and from reports of other law enforcement officers involved in the investigation.

               3.       The ATF is investigating a series of robberies and related carjackings that

took place in Brooklyn, New York, in October and November 2015.




       I       Because the pu{pose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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The October 16. 2015 Carjacking

               4.     On October 16,2015, three unidentified males entered a livery taxi

("Automobile-1") driven by Victim-1. One of the males sat in the front seat, and brandished           a


firearm.   One of the males told Victim-1 to exit Automobile-1, and Victim-1 exited

Automobile-l.    The three males fled in Automobile-l, which they later abandoned.

               5.     Victim-l later identified   a   photograph of the defendant SASHA

HONORE as depicting one of the three males who had carjacked Victim-1, specifically the

male who had brandished the firearm.     Victim-l later confirmed the identification of the

defendant SASHA HONORE by identifying HONORE in a lineup.

               6.     The NYPD recovered Automobile-1 and subjected it to a forensic

examination. NYPD technicians obtained a latent fingerprint which was analyzed and found

to match an NYPD record of MARDOCHE PETITPIIARE's fingerprints.                    Victim-l later

identified the defendant MARDOCHE PETITPHARE in               a   photo array as another one of the

three males who had carjacked   Victim-l.

The November 16. 2015 Attempted Robbery of a McDonalds Restaurant

               7.     At approximately 10:30 p.m. onNovember 16,20I5,a surveillance

camera located at 3549 Nostrand Avenue in Brooklyn recorded two males enter the lobby.

One male   ("UM-l")   was wearing what appeared to be a white sweatsuit. The second male

("UM-2") was wearing what appeared to be dark adidas-brand sweatpants.

               8.     At approximately 10:45 p.m. on November 16,2015,            a surveillance

camera located at3549 Nostrand Avenue in Brooklyn recorded the same two males in the

lobby. UM-1    had changed into a dark-colored and hooded sweatshirt with a distinctive white
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emblem above the left breast. UM-2 was still wearing the dark adidas-brand sweatpants, and

had put on a red sweatshirt.

               9.       Over the next several minutes,   UM-l   and UM-2 were recorded by

surveillance cameras at multiple buildings in the area walking from 3549 Nostrand Avenue

towards a McDonalds restaurant located at3540 Nostrand Avenue.            UM-l      can be observed

entering the McDonalds. UM-2 can be observed acting as a lookout and pacing back and forth

across the street from the McDonalds while      UM-1 is inside the McDonalds restaurant.

               10.      UM-l   was recorded on surveillance cameras located inside the

McDonalds approaching the counter. Based on those recordings, and upon witness

statements,   UM-l   displayed a small black firearm to the counter attendant ("Victim-2"), and

stated: "empty the   register." Victim-2   stated that he did not have a register   key.   UM-1

responded: "You don't want to die    today." Another employee ("Victim-3")           stated to the

individual with the firearm: "wait one second." Victim-2 and Victim-3 retreated to the rear of

the restaurant and called   911. UM-l   fled.

               1   1.   Surveillance footage from a nearby public housing facility recorded

UM-1 meeting up with U}l4-z moments after the attempted robbery of the McDonalds in the

vicinity of 3549 Nostrand Avenue. They then entered the lobby of 3549 Nostrand Avenue.

               12.      Over the course of the next several minutes, UM-1 and UM-2 were

recorded on surveillance footage proceeding roughly eastward from3549 Nostrand Avenue for

approximately two blocks, before entering 3062 Avenue V and remaining inside for

approximately one minute. They then exited that location and retraced their steps back
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towards the McDonalds restaurant, ultimately re-entering the building located at3549 Nostrand

Avenue. At     one point during their return to 3549 Nostrand Avenue, they can be seen running.

                13.    Surveillance footage from 3549 Nostrand Avenue taken moments after

UM-l andUM-2 re-entered         that building clearly depicts their faces. In an effort to identify

IIM-I    andUM-2, NYPD investigators extracted a still image from the surveillance footage and

disseminated it to the media.

                14.    An anonymous tip to the NYPD's'oCrimestoppers" telephone hotline

identified UM-2 as the defendant MARDOCHE PETITPHARE. I have subsequently

compared a booking photograph associated with a prior arrest of PETITPHARE against the still

image of UM-2 described above and it is my opinion that PETITPHARE is UM-2.

                15.    UM-l   was later identified as the defendant RAYVAUGHN WILLIAMS,

as   follows. A review of law enforcement databases revealed      that PETITPHARE has a number

of past criminal associates, including, but not limited to, RAYVAUGHN         WILLIAMS.       One     of

my colleagues learned that WILLIAMS was on parole from New York state charges, and

contacted   WILLIAMS' assigned Parole Officer from the New York           State Department   of

Corrections and Community Supervision. This Parole Officer reviewed the still image

described above, and the video recording from which the still image was extracted, and

confirmed that UM-1 was RAYVAUGHN WILLIAMS.

                16.    I know from my training and experience that McDonalds restaurants,

such as the one in operation at 3540 Nostrand Avenue, routinely purchase goods in interstate

commerce, and that if the robbery had been successful, any money taken by WILLIAMS would

have impacted interstate commerce.
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The November 17" 2015 Carjacking

                17   .    Shortly before 12:20 a.m. on November   17   ,2015, that is, shortly after the

attempted robbery of the McDonalds restaurant described above, a car service received a call

requesting that a livery taxi be dispatched to 3549 Nostrand Avenue (that is, the location across

the street from the McDonalds). The car service assigned the call to "Victim-4," a livery taxi

driver, to this pickup.

                18.       At approximately 12:20 a.m., Victim-4 arrivedat3549 Nostrand Avenue

in a livery taxi ("Automobile-2").

                19.       Two males entered Automobile-2. One male sat in the front passenger

seat, and the other male sat in the   backseat. One of the individuals directed Victim-4 to

transport them to 642East 23rd Street in Brooklyn.

               20.        When Automobile-2 artived at 642 East 23rd Street, the male in the front

seat displayed a black firearm, and stole cash, a wallet, and a cellular telephone from      Victim-4.

Victim-4 was removed from Automobile-2 andthe two males fled the scene in Automobile-2.
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                21.       The phone number used to make the call to the livery service referenced

above was identified by the car service as (347) 786-7938 ("the 7938         Number"). The ATF

learned that the 7938 Number is a telephone service provided by Ooma, Inc., via a mobile

telephone Internet application called "Talkatone." According to the public Talkatone website,

the application permits users to make and receive voice calls, and to send and receive instant

messages, as   well as other services, via the application. Based on ATF's review of Ooma's

records,   I also know that Ooma maintains    a log of "Internet Protocol"   ("IP")   addresses ("the

Ooma IP Log") used to connect the Talkatone application to the Internet when the Talkatone

application is in use.2




       '       Th" Internet is a global network of computers and other devices. Devices directly
connected to the Internet are identified by a unique number called an Internet Protocol, or "IP"
address. This number is used to route information between devices. Generally, when one device
requests information from a second device, the requesting device specifies its own IP address so
that the responding device knows where to send its response. An IP address is analogous to a
telephone number and can be recorded by a service provider (such as Ooma), and it indicates the
online identity of the communicating device without revealing the communication's content.
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              22.   On or about January 6,2016, the NYPD arrested PETITPHARE in

connection with a separate criminal matter. He was advised of his Miranda rights and agreed

to speak with law enforcement officers. In response to pedigree questioning, PETITPHARE

stated to me that the 7938 Number was his telephone number.

              WHEREFORE, your deponent respectfully requests that the defendants SASHA

HONORE, MARDOCHE PETITPHARE and RAYVAUGHN WILLIAMS bE dEAIt With

according to law.


                                            fitllu uei*-
                                         AYESHA R. WINSTON
                                         Special Agent,
                                         Bureau of Alcohol, Tobacco, Firearms and
                                         Explosives

Sworn to before me this
5th day of February,2016




THE HONORABLE RAMON E. REYES, JR.
LINITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
